Case 3:17-cv-00072-NKM-JCH Document 683 Filed 03/19/20 Page 1 of 2 Pageid#: 9788
                                                                                CLERKS OFFICE U.S. DIST. COURT
                                                                                   AT CHARLOTTESVILLE, VA
                                                                                          FILED
                                UNITED STATES DISTRICT COURT                          03/19/2020
                                                                                   JULIA C. DUDLEY, CLERK
                                WESTERN DISTRICT OF VIRGINIA                       BY: /s/ J. JONES
                                      CHARLOTTESVILLE DIVISION                         DEPUTY CLERK

    ELIZABETH SINES, et al.,
                                                         CASE NO. 3:17-cv-00072
                                       Plaintiffs,

                           v.                            ORDER

    JASON KESSLER, et al.,
                                                         JUDGE NORMAN K. MOON
                                       Defendants.



         This matter is before the Court on Defendant Matthew Heimbach’s Motion to Dismiss the

  First Amended Complaint (“Second Motion to Dismiss”), which Heimbach had filed in July 2019,

  proceeding pro se. Dkt. 520.

         On January 26, 2018, Heimbach—who was then represented by counsel—was among

  those defendants who moved to dismiss Plaintiffs’ claims (“First Motion to Dismiss”) in the First

  Amended Complaint. Dkt. 205, 206; see also Dkt. 201–09, 212–13. That was the Court-ordered

  deadline further stipulated to by the parties, to file a motion to dismiss to Plaintiffs’ First Amended

  Complaint. Dkt. 186–87. In July 2018, the Court issued an opinion denying the First Motion to

  Dismiss and other then-pending motions to dismiss in substantial part. Dkt. 335–36. The Court

  considered Plaintiffs’ allegations against Heimbach and ruled that Plaintiffs “plausibly allege[d]”

  that Heimbach had “joined the conspiracy to commit racial violence.” Dkt. 335 at 35. The Court

  further ruled that “the First Amendment does not prevent the imposition of liability for the acts of

  violence alleged here.” Id. Plaintiffs’ case proceeded against Heimbach and the other defendants.

  Thereafter, while he was still represented by counsel, Heimbach answered the First Amended

  Complaint. Dkt. 343.

                                                     1
Case 3:17-cv-00072-NKM-JCH Document 683 Filed 03/19/20 Page 2 of 2 Pageid#: 9789




          Plaintiffs recount in their opposition brief that Heimbach fired his attorneys and failed to

  participate in discovery or for the first half of 2019. Dkt. 521 at 7–8. Only then—approximately

  18 months after the deadline to file any motion to dismiss the First Amended Complaint—

  Heimbach filed his Second Motion to Dismiss. Dkt. 520. Heimbach has raised arguments in his

  Second Motion to Dismiss that the Court already ruled in its July 2018 memorandum opinion.

  Heimbach argued that the First Amended Complaint includes insufficient allegations against him

  to state a plausible claim to relief, and that his actions were protected by the First Amendment.

  See, e.g., Dkt. 520 at 1, 4, 12.

          Because the Court has since afforded Plaintiffs leave to amend their complaint and to file

  the operative Second Amended Complaint (Dkt. 557), the Court will DENY as moot Heimbach’s

  untimely Second Motion to Dismiss the First Amended Complaint (Dkt. 520), without prejudice.

  Plaintiffs’ request for attorneys’ fees specifically for responding to Heimbach’s Second Motion to

  Dismiss will be DENIED, without prejudice to any other request for fees or sanctions arising from

  Heimbach’s litigation conduct besides filing the Second Motion to Dismiss.

          It is so ORDERED.

          The Clerk of the Court is directed to send a certified copy of this Order to the parties.

          Entered this    19th day of March, 2020.




                                                    2
